24

25

Case 2:23-cv-01135-JLR Document 41 Filed 03/20/24 Page 1 of 4

————FILep ENTERED
LODGED __receiven

MAR 20 2024 MG

AT SEATTLE
CLERK U,S. DISTRICT co
BY WESTERN DISTRICT OF WASHINGTON
DEPUTY

IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE WESTERN DISTRICT OF WASHINGTON

Eric S. Freeze, )
Plaintiff Case No. 2 : 23-CV-01135-RSM
)

VS. ,
ELIZABETH E. GALLAGHER, JOSE T. orn
ACUNA, ANN G. FREEZE REVOCABLE MOTION TO DISMISS AND
TRUST, and the RONALD L. FREEZE )

° ) MOTIONS TO SANCTION
REVOCABLE TRUST, JAMES MASSINGALE
AND ANGELA MASSINGALE, )

Defendants

PLAINTIFF'S OPPOSITION TO THE DEFENDANTS' MOTION TO DISMISS AND
MOTIONS TO SANCTION

I, Eric S. Freeze, Plaintiff, Pro per, am writing in response to Defendant's Answer to Motion to
Strike Notice of Appearance and Answer to Complaint

Motion to Dismiss

Defendants have moved to dismiss the case [include brief summary of the grounds for dismissal,
if any, provided by Defendants]. However, the Plaintiff asserts that the claims brought forth in
this case are valid and supported by applicable law. The arguments presented in the Defendants’
motion fail to establish sufficient grounds for dismissal or dismissal without opportunity to
amend. Plaintiff requests Judicial Notice of; PLATSKY V. C.LA-953 F.2d 26, 28 (2d Cir. 1991),
Haines v. Kerner, 404 U.S. at 521, 92 S.Ct. at 595, Erickson v. Pardus, 551 U.S. 89, 94 (2007)
(per curiam). United States Court of Appeals, Ninth Circuit. Submitted Nov. 17, 1993.*
However, Alexander's pro se complaint failed to articulate clearly that the defendants’ allegedly
slanderous remarks could threaten a protected liberty interest in his parole release. Nevertheless,

Alexander's pro se action contains an arguable basis in law, and therefore he should have been

Plaintiff's Opposition
TO DEFENDANTS'
MOTION TO DISMISS

Case 2:23-cv-01135-JLR Document 41 Filed 03/20/24 Page 2 of 4

given leave to amend his complaint. Thus, the district court erred by dismissing the case under
Sec. 1915(d). See Neitzke, 490 U.S. 324; Haines, 404 U.S. at 520; Noll, 809 F.2d at 1446. The
order is therefore reversed, and the matter remanded to the district court to give Alexander an
opportunity to amend his complaint so that he may firmly address whether

As a pro se litigant, the plaintiff's pleadings are accorded liberal construction and held to a less
stringent standard than formal pleadings drafted by attorneys. Plaintiff requests that the court
deny Defendants' Motion to Dismiss.

Additional Points Raised by Plaintiff

Defendants have failed to address the Order to show cause in their voluminous rabbit trails, none
of which explains to the Court why Defendant’s defied the court order for the FCRP 26(f)
meeting and why Defendants defaulted in answering the Plaintiff's Motion to Strike
Defendants’s Counsel’s Notice of Appearance and Answer to Complaint. Instead, Defendants'
counsel has chosen the Chewbacca Defense, using a mirage of "red herrings" to lead the court
away from the matter at hand. This includes sanctions for the Pro per Plaintiff, as if the plaintiff
erred in defying court orders, suddenly claiming the suit is frivolous when Defendants have
agreed by tacit assent that any suit brought by Plaintiff in any jurisdiction would not be opposed,
and agreed by tacit assent that they have harmed the Plaintiff and have already agreed to a
settlement amount. Additionally, Defendants have agreed that their consent supersedes any civil
or statute law for filing or leaning. Plaintiff Requests Judicial Notice of the Exhibit Affidavits
received by Defendants via certified mail with over 33 days to respond and defaulted once again.
Defendants have clearly shown a long history of a pattern and practice of default, delinquency,
and disregard for lawful procedure. Plaintiff also Requests Judicial Notice of the following case

laws:

Data Disc 2 Inc v Systems Tech Assoc Inc., 557 F2d 1260 (9th Cir. 1977) "An unrebutted

affidavit stands as truth in law."

Plaintiff's Opposition
TO DEFENDANTS'
MOTION TO DISMISS

24

25

Case 2:23-cv-01135-JLR Document 41 Filed 03/20/24 Page 3 of 4

Bey v. Stumpf, no. 11-5684 (RBK) Dist. Court N.J (2011) An Unrebutted Affidavit Stands as
Truth in Commerce.

Taylor v. Portland Paramount Corp., 383 F.2d 634, 639 (9th Cir. 1967) "If only one side of the
conflict was supported by affidavit, our task would be relatively easy, for we may not assume the
truth of allegations in a pleading which are contradicted by affidavit."

United States v. Kis, 658 F.2d 526, 536 (7th Cir. 1981) "Non Rebutted Affidavits are 'Prima
Facie Evidence in the Case,' United States vs. Kis, 658 F.2d, 526, 536-337 (7th Cir. 1981);"

In light of the foregoing, the plaintiff respectfully requests that the court hold Defendants’
attorney accountable for their actions. The deliberate failure to comply with court orders and
procedural rules cannot go unchecked. Therefore, the plaintiff urges the court to deny

Defendants’ Counsel’s MOTION TO DISMISS AND MOTIONS TO SANCTION.

Motions to Sanction

Additionally, Defendants have filed motions seeking sanctions against the Plaintiff. Plaintiff
contends that these motions lack merit and are an attempt to deter and harass the Plaintiff in the
pursuit of his legal rights. The allegations made in Defendants’ motions are baseless and

unsupported by evidence. Plaintiff requests that the court deny Defendants' Motions to Sanction.

In support of this opposition, Plaintiff submits the following points:

All Judicial Notices of Affidavits and Notices of Case law regarding Affidavits and the ability to
amend as a Pro per litigant

The plaintiff respectfully requests that the court deny Defendants’ Motion to Dismiss and
Motions to Sanction. Should the court require further clarification or information on any aspect
of this matter, Plaintiff is prepared to provide additional documentation or appear for oral
argument as deemed necessary.

Respectfully submitted,

Plaintiff's Opposition
TO DEFENDANTS'
MOTION TO DISMISS

Case 2:23-cv-01135-JLR Document 41 Filed 03/20/24 Page 4 of 4

Eric S, Freezd) PlaAtité, Pro per Date l é

P O Box 12
Concrete WA 98237

Plaintiff's Opposition
TO DEFENDANTS'
MOTION TO DISMISS

